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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


State Farm Fire and Casualty Company,             Case No. 24-CV-02319 (JMB/LIB)

               Plaintiff,

v.                                                              ORDER

Brent Olsen, Angela Korpela, Elizabeth
Sargent, Jeannie Ball, Jennifer Ball, and
Northstar Equine Rehab and Rescue,

               Defendants.


C. Todd Koebele, Michelle D. Christensen, and Tiffany L. Phillips, Haws-KM, P.A.,
St. Paul, MN, for Plaintiff State Farm Fire and Casualty Company.

Jenneane L. Jansen, Jansen & Palmer, LLC, Minneapolis, MN, for Defendants Brent Olsen,
Angela Korpela, and Northstar Equine Rehab and Rescue.


       This matter is before the Court on Plaintiff State Farm Fire and Casualty Company’s

(State Farm) motion for leave to file an amended complaint. (Doc. No. 25.) In this

insurance coverage action, State Farm seeks a declaration that it does not owe any duty to

defend or indemnify the Defendants in relation to the claims asserted in Ball et al v. Nilsson

et al, 23-CV-02013 (NEB/LIB) (D. Minn. June 30, 2023) (the Underlying Action). (See

Doc. No. 1.) State Farm seeks leave to amend its complaint to include information about

the allegations and claims set forth in a Second Amended Complaint recently filed in the

Underlying Action, see Second Amended Complaint (Doc. No. 101), Ball et al v. Nilsson

et al, 23-CV-02013 (NEB/LIB) (D. Minn. Aug. 26, 2024). (See Doc. No. 27 at 5; Doc.

No. 28 ¶ 5, Ex. 4.) For the following reasons, the Court will grant State Farm’s motion.

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       Under Federal Rule of Civil Procedure 15(a)(2), “a party may amend its pleading

only with the opposing party’s written consent or the court’s leave.” Fed. R. Civ. P.

15(a)(2). “The court should freely give leave when justice so requires.” Id. Defendants

Brent Olsen, Angela Korpela, Jeannie Ball, Jennifer Ball, and Northstar Equine Rehab and

Rescue have consented to State Farm’s amendment. (See Doc. No. 28 ¶¶ 2, 3, Exs. 1, 2.)

Defendant Elizabeth Sargent has not responded to the amendment despite having been

served with the motion. (See Doc. No. 28 ¶ 4, Ex. 3; Doc. No. 30.) Moreover, none of the

Defendants have filed an answer or responsive motion to the Complaint, as required. (Doc.

No. 13; Doc. No. 23.) Accordingly, the Court will grant State Farm leave to file the

Amended Complaint, as the amendment will not prejudice the Defendants or substantially

delay this action.

                                        ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:

       1.     State Farm’s motion for leave to file an amended complaint (Doc. No. 25) is
              GRANTED;

       2.     The proposed Amended Complaint (Doc. No. 28, Ex. 5) shall be the
              operative pleading in this matter; and

       3.     State Farm is directed to docket the proposed Amended Complaint (Doc. No.
              28, Ex. 5) on or before January 10, 2025.


Dated: December 26, 2024                              /s/ Jeffrey M. Bryan
                                                      Judge Jeffrey M. Bryan
                                                      United States District Court




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